Case 2:22-cv-00293-JRG   Document 314 Filed 01/03/24      Page 1 of 20 PageID #:
                                   17475



                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION

NETLIST, INC.,                    )
                                  )
            Plaintiff,            )
                                  )   Case No. 2:22-cv-293-JRG
       vs.                        )
                                  )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;      )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,      )
INC.; SAMSUNG SEMICONDUCTOR INC., )
                                  )
           Defendants.            )
                                  )

NETLIST, INC.,                  )
                                )
          Plaintiff,            )
                                )
                                      Case No. 2:22-cv-294-JRG
     vs.                        )
                                )
                                      JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.; MICRON )
SEMICONDUCTOR PRODUCTS, INC.;   )
MICRON TECHNOLOGY TEXAS LLC,    )
                                )
         Defendants.            )
                                )

      PLAINTIFF NETLIST, INC.’S MOTION FOR SUMMARY JUDGMENT ON
                      SAMSUNG’S LICENSE DEFENSE
Case 2:22-cv-00293-JRG                           Document 314 Filed 01/03/24                                           Page 2 of 20 PageID #:
                                                           17476


                                                      TABLE OF CONTENTS

                                                                                                                                                            Page

I.     STATEMENT OF ISSUES TO BE DECIDED BY THE COURT ....................................... 2

II.    STATEMENT OF UNDISPUTED FACTS .................................................................................. 3

III.   ARGUMENT .......................................................................................................................................... 9

       A.          Samsung Is Estopped From Arguing The JDLA Covers The Accused
                   Products ...................................................................................................................................... 9

       B.          There Is No Genuine Dispute That Netlist Properly Terminated The JDLA ......... 11

                   1.           Samsung’s Interpretation Violates New York Law .......................................... 11

                   2.           The Extrinsic Evidence Exclusively Favors Netlist’s Interpretation............ 13

                   3.           There Is No Genuine Dispute That Samsung’s Breach Was
                                Material ....................................................................................................................... 15




                                                                            -i-
Case 2:22-cv-00293-JRG                                 Document 314 Filed 01/03/24                                         Page 3 of 20 PageID #:
                                                                 17477



                                                         TABLE OF AUTHORITIES

                                                                                                                                                           Page(s)

Cases

Ahrens v. Perot Sys.,
   205 F.3d 831 (5th Cir . 2000) ....................................................................................................................... 10

Compagnie Financiere v. Merrill Lynch,
   232 F.3d 153 (2d Cir. 2000) ....................................................................................................................13, 14

Gulf Ins. v. Transatlantic Reinsurance,
    886 N.Y.S.2d 133 (2009) ............................................................................................................................... 14

Hall v. GE Plastic,
    327 F.3d 391 (5th Cir. 2003) ..................................................................................................................... 9, 10

Last Time Beverage v. F & V Distrib.
    173 N.Y.S.3d 543 (2012) .........................................................................................................................12, 13

Netlist Inc. v. Samsung Elecs. Co.,
    2023 WL 6820683 (9th Cir. Oct. 17, 2023) .................................................................................... 2, 10, 11

New Hampshire v. Maine,
   532 U.S. 742 (2001) ...........................................................................................................................................9

New Windsor v. Meyers,
   442 F.3d 101 (2d Cir. 2006) .......................................................................................................................... 15

Quadrant Structured Prod. v. Veritin,
   23 N.Y. 3d 549 (NY 2014) ................................................................................................................. 2, 12, 13

Vermont Teddy Bear v. 538 Madison,
   1 N.Y.3d 470 (NY 2004) ............................................................................................................................... 12

Rules

FRCP Rule 37 ......................................................................................................................................................... 16




                                                                                 - ii -
Case 2:22-cv-00293-JRG   Document 314 Filed 01/03/24   Page 4 of 20 PageID #:
                                   17478
Case 2:22-cv-00293-JRG               Document 314 Filed 01/03/24                Page 5 of 20 PageID #:
                                               17479


          The Ninth Circuit relied on this specific argument to find the supply obligation ambiguous:

“Read as an integrated whole, however, the contract’s apparent purpose as derived from its title,

structure, and related provisions make § 6.2 reasonably susceptible of more than one interpretation.”

Netlist Inc. v. Samsung Elecs. Co., 2023 WL 6820683, at *1 (9th Cir. Oct. 17, 2023). Judge Desai’s dissent

expressly stated that the majority opinion was relying on the argument made by Samsung relating to

recital four. Id. *4 (“Finding no support in the terms of the agreement, the majority’s decision settles

on the recitals as the basis for its finding that § 6.2 is ambiguous.”).

          Netlist respectfully seeks summary judgment on the JDLA license defense. First, under Fifth Circuit

law, Samsung is estopped from arguing that the JDLA’s license grant covers the Accused Products. To

convince the Ninth Circuit that Samsung’s supply obligation was limited to the joint development efforts,

Samsung relied on other provisions of the JDLA, including the license grant, arguing that they, too, are

implicitly limited to joint development. This is flatly inconsistent with Samsung’s license defense, which

depends on the license being broader than the parties’ joint development, given that none of the Accused

Products are the joint development product (NVDIMM-P) which never even materialized.

          Second, even if Samsung is not estopped as to license scope, its interpretation of Samsung’s supply

obligation fails as a matter of law, which means the JDLA (the license included) was properly terminated as

a matter of law. The highest court in New York, the Court of Appeals, holds that under New York law, even

when a contract is “ambiguous,” extrinsic evidence cannot be used to insert a limitation that sophisticated

parties could have included but did not. Quadrant Structured Prod. v. Veritin, 23 N.Y. 3d 549, 560 (NY 2014).

That is precisely what Samsung is attempting to do here, i.e., read a “joint development” limitation into

Samsung’s supply obligation where the parties could have included it but did not.

I.        STATEMENT OF ISSUES TO BE DECIDED BY THE COURT

     1.   Is Samsung estopped from arguing that the Section 8.2 license grant is not limited joint development

products?



                                                     -2-
Case 2:22-cv-00293-JRG            Document 314 Filed 01/03/24                  Page 6 of 20 PageID #:
                                            17480


  2.   Under New York law, is it proper to import a limitation into the Section 6.2 supply clause limiting it

to joint development product even when the clause is ambiguous?

II.    STATEMENT OF UNDISPUTED FACTS

Product Supply Obligations

  1.

                                                                   Ex. 2 at -07; Ex. 3 at 15:16-18.

  2.



           Ex. 4. Samsung told Netlist that



                                                                                          Id.

  3.



                         Ex. 5 at NL049012.

                                                                Ex. 6 (JDLA) § 6.1.




                               Ex. 7.



            Ex. 8.

  4.   The parties executed the JDLA on November 12, 2015. Section 6.1 states




                                                   -3-
Case 2:22-cv-00293-JRG                  Document 314 Filed 01/03/24               Page 7 of 20 PageID #:
                                                  17481


              Id. § 6.2. Netlist thus has



  5.    From the execution of the JDLA until around the second quarter of 2017,

                                                        Ex. 9 (Hong Dep.) at 120:20-121:16. To put this in

perspective

                                                                                                         . Ex. 10

(Samsung invoices). But after the JDLA,

                                                             . Ex. 11 at 46.

  6.    Samsung also



                                             Ex. 12.

  7.    Samsung’s internal summaries of the supply clause in June 2016 do not contain any statement that it

                                                       Ex. 13 (noting as the only limit on the supply clause was



                                  In fact,

                 Ex. 14,

                                                                                     Id.

  8.    Samsung

                                                                                See, e.g., Harbour Decl. ¶ 41.

  9.    Netlist’s 2016 10-K notified investors that “our JDLA with Samsung contractually commits

Samsung to supply NAND flash and DRAM products to us upon our request at competitive prices.” Ex. 15

at 8. Netlist’s 2018 10-K contained a risk disclosure that Netlist’s business could be harmed if Samsung

“fail[ed] to comply with the terms of the JDLA regarding the supply of these products.” Ex. 16 at 19.

 10.    Samsung’s corporate representative, Joseph Calandra, testified that Samsung’s supply obligation in



                                                       -4-
Case 2:22-cv-00293-JRG   Document 314 Filed 01/03/24   Page 8 of 20 PageID #:
                                   17482
Case 2:22-cv-00293-JRG   Document 314 Filed 01/03/24   Page 9 of 20 PageID #:
                                   17483
Case 2:22-cv-00293-JRG             Document 314 Filed 01/03/24                 Page 10 of 20 PageID #:
                                             17484


JDLA based on Samsung’s refusal to produce discovery on this topic. Dkt. 225.

 18.    After the instruction from JS Choi, Samsung sales personal discussed

                                                                                 Ex. 29. Samsung also used



          Ex. 30.

 19.    At the same time Netlist’s




Ex. 31 (Knuth Dep.) at 160:11-161:15.

 20.    The Samsung engineer who worked with Netlist on the JDLA confirmed                          drop in

supply by Samsung to Netlist, Ex. 32 (Indong Kim Dep.) at 96:13-17, which he described as “unethical.” Id.

at 70:7-15.

 21.    On May 27, 2020 and again on June 12, 2020, Netlist served a notice of material breach. Exs. 33, 34.

Samsung did not provide any written explanation claiming that it was not obligated to supply or that it was

unable to supply despite best efforts. Netlist terminated the JDLA on July 15, 2020. Ex. 35.

Joint Development Product

 22.    The JDLA defines the Developed Product (to arise from the Joint Development Project, which was


                                                    -7-
Case 2:22-cv-00293-JRG             Document 314 Filed 01/03/24                  Page 11 of 20 PageID #:
                                             17485


also a defined term) as NVDIMM-P. Ex. 6 § 1. None of the Accused Products (DDR4 LRDIMMs and

RDIMMs) are NVDIMM-P because Samsung admitted that

Ex. 32 (Indong Kim Dep.) at 108:8-11.

License Grant

 23.    Neither Section 6.2 “Supply by Samsung” nor Section 8.2 “License to Samsung” contain an express

reference to the Joint Development Project or the Developed Product.

 24.    Samsung argued to the Ninth Circuit that various provisions of the JDLA that do not expressly

reference the Joint Development Project or product are nonetheless limited to joint development. For

example, Samsung argued that “there’s an $8 million NRE fee that’s paid. It’s clearly for the joint

development project, but it doesn’t say it’s specifically for the joint development project.” Ex. 1 at 8:16-24.

This is the exact opposite of Samsung position before this Court in support of its JDLA defense. Samsung I,

Dkt. 566 at 57 (“Netlist perpetually licensed 87 patents to Samsung, including the asserted patents, in

an agreement where Samsung paid $8 million.”).

25.     Samsung claimed before the Ninth Circuit that the license grant was also limited to the joint

development project:

        [T]he recitals are very clear -- and parties put recitals in agreements to make
        sure language isn’t tortured down the road by lawyers and courts, right? Here’s
        what our purpose is, interpret this agreement consistent with our purpose. And
        when you look at the recitals, what does it say about the licenses? Whereas in
        connection with their collaboration hereunder, the parties wish to grant to each
        other a cross-license under each party’s patents. The licenses are being
        given in connection with the collaboration. That’s the joint development
        project.

Ex. 1 at 15:10-21.

This is the exact opposite of what Samsung argues before this Court: “The plain language of the

JDLA unambiguously licenses all semiconductor products except Foundry Products and is not

limited to the Joint Development Project.” Samsung I, Dkt. 328 at 2.

26.     Ho-Jung Kim, whom Samsung identified in interrogatories as a negotiator of the JDLA,


                                                     -8-
Case 2:22-cv-00293-JRG              Document 314 Filed 01/03/24                  Page 12 of 20 PageID #:
                                              17486


testified, consistent with the Ninth Circuit argument, that the license grants were limited to what was

necessary to develop NVDIMM-P:



                                                    Ex. 36 (Ho-Jung Kim Dep.) at 22:11-17.

III.    ARGUMENT

        A.       Samsung Is Estopped From Arguing The JDLA Covers The Accused Products

        Samsung’s license defense claims that the JDLA provided a broad license grant to all of Netlist’s

patents for any purpose, not just for the Joint Development Project/NVDIMM-P. Samsung, however,

successfully secured a partial reversal in the Ninth Circuit by arguing the opposite. This estops Samsung from

taking the contrary position now. The doctrine of judicial estoppel “prevents a party from asserting a position

in a legal proceeding that is contrary to a position previously taken in the same or some earlier proceeding.”

Hall v. GE Plastic, 327 F.3d 391, 396 (5th Cir. 2003). “Statements made in a previous suit by an attorney

before the court can be imputed to a party and subject to judicial estoppel.” Id. (citing New Hampshire v. Maine,

532 U.S. 742, 753 (2001)). The Fifth Circuit applies a two-pronged test: “the position of the party to be

estopped is clearly inconsistent with the previous one; and that party must have convinced the court to accept

that previous position.” Id. Here, both prongs are met.

        Samsung’s position that the JDLA’s license grant covers the Accused Products is “clearly

inconsistent” with what Samsung argued to the Ninth Circuit. This is established by comparing Samsung’s

own words before this Court and the Ninth Circuit. The premise of Samsung’s appeal was that clauses in the

JDLA that make no mention of the parties’ joint development project or product, such as the supply clause,

should nonetheless be read as implicitly limited to the joint development project or product.

        First, Samsung argued that the JDLA’s $8 million NRE fee that Samsung paid to Netlist was not a

license fee, but instead payment for the joint development project:

       There’s other provisions in the contract that clearly relate to the joint development project,
       that don’t also say in connection with the joint development project. That’s why you have to


                                                      -9-
Case 2:22-cv-00293-JRG              Document 314 Filed 01/03/24                  Page 13 of 20 PageID #:
                                              17487



       look at the structure of the agreement in order to interpret specific language. For example, in
       Section 3.1, there’s an $8 million NRE [non-recurring engineering] fee that’s paid. It’s clearly
       for the joint development project, but it doesn’t say it’s specifically for the joint
       development project.
Ex. 1 at 8:16-24; see Hall, 327 F.3d at 396 (estoppel applies to “statements made at oral argument”). This is

the opposite of what Samsung argued to this Court in Samsung I, when it repeatedly asserted that the $8

million payment was compensation for a broad license grant (not the joint development project). See, e.g.,

Samsung I, Dkt. 566 at 57 (“Netlist perpetually licensed 87 patents . . . where Samsung paid $8 million.”).

        Second, Samsung argued to the Ninth Circuit that the license was similarly tied to the parties’ joint

development project even though the license also makes no mention of joint development. Specifically,

Samsung relied on the JDLA’s fourth recital:

       And when you look at the recitals, what does it say about the licenses? Whereas in connection
       with their collaboration hereunder, the parties wish to grant to each other a cross-license under
       each party’s patents. The licenses are being given in connection with the collaboration.
       That’s the joint development project.

Ex. 1 at 15:15-21. This, however, directly contradicts Samsung’s license defense in this case. First, before this

Court, Samsung argued that “[t]he plain language of the JDLA unambiguously licenses all semiconductor

products except Foundry Products and is not limited to the Joint Development Project.” Samsung I, Dkt. 328

at 2. Second, Samsung has admitted that none of the Accused Products are NVDIMM-P. See SUF 22.

        Samsung’s argument succeeded. In an unpublished 2-1 decision, the Ninth Circuit upheld multiple

rulings of the Central District, but reversed the grant of summary judgment on the supply clause. The majority

conceded that “[s]tanding alone, the plain language of § 6.2 favors Netlist’s interpretation: that Samsung must

fulfill all NAND and DRAM orders by Netlist for whatever purpose.” Netlist, 2023 WL 6820683, at *1. But

it nevertheless found § 6.2 ambiguous. Id. In reaching this conclusion, the Ninth Circuit clearly relied on

Samsung’s argument regarding the fourth recital. See Ahrens v. Perot Sys., 205 F.3d 831, 836 (5th Cir . 2000)

(When a prior court “necessarily accepted, and relied on” a party’s position in making a determination, then

the prior-success requirement is satisfied). Right after Samsung’s counsel emphasized that “[t]he licenses are



                                                     - 10 -
Case 2:22-cv-00293-JRG                Document 314 Filed 01/03/24                    Page 14 of 20 PageID #:
                                                17488


being given in connection with the collaboration,” the very first question posed to Netlist’s counsel by the

Presiding Judge who joined the majority opinion was: “But it is, if you will, interpreted by the rest of the

contract including, for example, the recital that [Samsung’s counsel] just gave, and when you look at that in

its totality, now it’s pretty ambiguous to me. Why am I wrong?” Ex. 1 at 18:23-19:2. The majority then

concluded that the supply clause was ambiguous based on the “contract’s apparent purpose as derived from

its title, structure, and related provisions,” Netlist, 2023 WL 6820683, at *1, and the dissenting Judge

confirmed that the majority’s reasoning was predicated on the very recital that Samsung’s counsel had

emphasized at oral argument: “Finding no support in the terms of the agreement, the majority’s decision

settles on the recitals as the basis for its finding that § 6.2 is ambiguous.” Id. at *4.2

         B.       There Is No Genuine Dispute That Netlist Properly Terminated The JDLA

         Even if Samsung is not estopped from arguing that the JDLA’s license grant covers the Accused

Products, there is no genuine dispute of material fact that Netlist properly terminated the JDLA in June of

2020 based on Samsung’s material breach of the supply provision. The Ninth Circuit’s reversal in the Central

District Action was narrow. It held only that the supply provision was ambiguous and left the question of

“whether the extrinsic evidence ‘creates a genuine issue of material fact’ as to the provision’s meaning” still

to be resolved. Netlist, 2023 WL 6820683, at *2. Here, even when considering the extrinsic evidence, it is

beyond reasonable dispute that the supply clause required Samsung to provide Netlist with NAND and

DRAM products for any purpose on request, and Samsung materially breached this provision.

                  1.       Samsung’s Interpretation Violates New York Law

         Under New York law (which governs the JDLA), even if a contract is ambiguous, judgment as a

matter of law is proper if the non-moving party’s interpretation conflicts with established canons of contract


2
  As noted above, Samsung witness, Ho-Jung Kim, whom Samsung identified in interrogatories as a
negotiator of the JDLA,
               SUF 26. Samsung took this position because it was seeking to limit rights clauses in the
agreement that did not make reference to joint development.



                                                        - 11 -
Case 2:22-cv-00293-JRG               Document 314 Filed 01/03/24                   Page 15 of 20 PageID #:
                                               17489


interpretation. See, e.g., Last Time Beverage v. F & V Distrib. 173 N.Y.S.3d 543, 552 (2012) (“[T]o the extent that

[the contract provision in question] may be ambiguous, the Supreme Court properly resorted to the canons

of construction. . . .”). According to New York’s highest court (the Court of Appeals), where sophisticated

parties are involved, “[e]ven where there is ambiguity, if the parties to a contract omit terms—particularly

terms that are readily found in other, similar contracts—the inescapable conclusion is that the parties intended

the omission.” Quadrant, 23 N.Y. 3d at 560; Vermont Teddy Bear v. 538 Madison, 1 N.Y.3d 470, 475 (NY 2004)

(where sophisticated parties involved: “courts should be extremely reluctant to interpret the agreement as

impliedly stating something which the parties have neglected to specifically include.”).

          Samsung’s attempt to read a joint development project/product limitation into the JDLA’s supply

clause violates this canon of construction. As noted above, while Netlist’s supply obligation under § 6.1 is

expressly limited to the Developed Product (NVDIMM-P), the parties chose not to include any such

limitation for Samsung’s supply obligation under § 6.2:


                                                                                    If the parties had wanted to

                                                                                    limit § 6.2 to the joint

                                                                                    development      project    or

product, there were multiple ways that they could have done so. “Joint Development Project” (or “JDP”),

“NVDIMM-P Product,” and “Developed Product” are all defined terms under the JDLA that the parties

employed when they saw fit. See, e.g., Ex. 6 § 4.2 (Solely- and Jointly-Owned Patents); § 5.1 (Standardization);

§ 5.2 (Right of First Refusal); § 5.3 (Productization); § 5.4 (Sole Collaboration IPR License); § 16.3

(Compliance with Laws). Other provisions are expressly limited to the parties’ “development work,”

including all of Section 2, which governs “Collaborative Development Work” and Section 3, which governs

“Development Costs.” Section 6.2, however, makes no mention of “Developed Product,” “Joint

Development Project,” “JDP,” “NVDIMM-P Project,” or “development work.” Under Quadrant, this

omission must be regarded as intentional regardless of ambiguity. 23 N.Y. 3d at 560; W. & S. Life Ins. v. U.S.


                                                      - 12 -
Case 2:22-cv-00293-JRG              Document 314 Filed 01/03/24                   Page 16 of 20 PageID #:
                                              17490


Bank, 173 N.Y.S.3d 543, 551-52 (2022) (“[E]ven if there were an ambiguity. . . omission of terms that are

readily found in other, similar contracts was intentional.”).

        In addition to being internally inconsistent with Samsung’s proffered interpretation of the license

grant, Samsung’s interpretation of the supply clause has been woefully inconsistent. Initially, Samsung

claimed that Section 6.2 did not require it to supply any products at all. Rather, according to Samsung at the

time, Section 6.2 was simply “a Pricing Term With No Supply Obligation.” Ex. 37 at 15. After that argument

failed, Samsung changed course and argued that Section 6.2 was a supply obligation after all, but “Samsung’s

supply obligations would only arise if and to the extent the NVDIMM-P product was commercialized but

this never occurred.” Ex. 38 #21. Then, once that argument also failed, Samsung changed course yet again

in the Ninth Circuit on appeal. This time, Samsung admitted that it had a supply obligation, and that had in

fact arisen, but that it only covered the joint development project. Ex. 18 at 29 (“Sections 6.1 and 6.2 are, in

other words, complementary to each other—they each set forth the components that the other party agreed

to supply for the NVDIMM-P joint development project.”).

                 2.       The Extrinsic Evidence Exclusively Favors Netlist’s Interpretation

        Even setting Quadrant aside, summary judgment for Netlist is still proper. A “[c]ourt may resolve the

ambiguity in the contractual language as a matter of law . . . if the extrinsic evidence is so-one sided that no

reasonable factfinder could decide contrary to one party’s interpretation.” Compagnie Financiere v. Merrill Lynch,

232 F.3d 153, 159 (2d Cir. 2000).

                                                              See SUF 1.



                            Id.




                                             Id.



                                                     - 13 -
Case 2:22-cv-00293-JRG             Document 314 Filed 01/03/24                  Page 17 of 20 PageID #:
                                             17491


        Further,




         See SUF 3. Ultimately, Netlist’s supply obligations were limited to NVDIMM-P controllers only,

whereas Samsung’s supply obligations were for NAND and DRAM products, without any limitation to

NVDIMM-P or joint development.

        The parties’ subsequent course of performance after the JDLA was signed also contradicts

Samsung’s interpretation. Gulf Ins. v. Transatlantic Reinsurance, 886 N.Y.S.2d 133, 143 (2009) (“[T]he parties’

course of performance under the contract is considered to be the ‘most persuasive evidence of the agreed

intention of the parties.’”). In the two years prior to signing the JDLA,



                   SUF 5. In comparison, after the execution of the JDLA,



      Id. Samsung also

                                                                                                 SUF 6. This

confirmation makes no sense under Samsung’s proffered interpretation, which is that its supply obligation

was only for joint development, not Netlist’s resale to its own customers. While Samsung argued to the Ninth

Circuit that “[n]o ordinary businessperson in Samsung’s position would agree to supply an unquantified

amount of DRAM and NAND to a single customer on request at a competitive price,” Ex. 18 at 34-35.

Samsung’s corporate representative here affirmed this is consistent with its other agreements. See SUF 10.

        Samsung’s internal communications also indicate that,

                                                                              On January 18, 2018, Ho-Jung

Kim (whom Samsung has identified in its interrogatories as a negotiator of the JDLA) specifically flagged



                                                    - 14 -
Case 2:22-cv-00293-JRG             Document 314 Filed 01/03/24                 Page 18 of 20 PageID #:
                                             17492




                                                                                            See Ex. 23; see also

SUF 13. Notably this email was sent after Samsung asserts that the joint development project was

“abandoned” at “some point before 2017.” Ex. 39 at 24. Thus, it could not have been referring to an

obligation to supply Netlist solely for the joint development project or product.

                3.       There Is No Genuine Dispute That Samsung’s Breach Was Material

        Finally, there is no genuine dispute that Samsung’s breach was material. Under New York law, a

breach is material if it “go[es] to the root of the agreement between the parties.” New Windsor v. Meyers, 442

F.3d 101, 117 (2d Cir. 2006). In the Central District, Samsung’s counsel admitted that, “if 6.2 is construed

as Netlist is saying, that would have been the most important part of this contract by far. It would

have outweighed anything else in the contract.” SUF 14. If that does not meet the root of the agreement

standard, it is hard to imagine what would. Moreover, Samsung’s internal communications demonstrate that

Samsung knew its breach of the JDLA would significantly harm Netlist. See SUF 15.

        On the record before it, the Ninth Circuit found a material fact issue existed as to whether Samsung’s

breach was “material.” But after the Ninth Circuit oral argument, two important events occurred. First,

Samsung’s corporate representative Mr. Calandra was deposed in this case. He quickly admitted that

Samsung’s basis for an absence of material breach, that “no ordinary businessperson in Samsung’s position

would agree to supply an unquantified amount of DRAM and NAND” was lawyer fiction.



                        SUF 10. And Second, Samsung has improperly refused to provide any discovery

regarding the JDLA in this proceeding. SUF 17. Thus, as explained in Netlist’s pending Motion to Preclude

(Dkt. 225), Samsung should be barred from introducing any testimony in support of its license defense under

FRCP Rule 37. This would include any explanation for why its behavior was excusable, or done for a reason

other than to harm Netlist.



                                                    - 15 -
Case 2:22-cv-00293-JRG     Document 314 Filed 01/03/24            Page 19 of 20 PageID #:
                                     17493



Dated: December 12, 2023                 Respectfully submitted,

                                         /s/ Michael D. Harbour

                                         Samuel F. Baxter
                                         Texas State Bar No. 01938000
                                         sbaxter@mckoolsmith.com
                                         Jennifer L. Truelove
                                         Texas State Bar No. 24012906
                                         jtruelove@mckoolsmith.com
                                         MCKOOL SMITH, P.C.
                                         104 East Houston Street Suite 300
                                         Marshall, TX 75670
                                         Telephone: (903) 923-9000
                                         Facsimile: (903) 923-9099

                                         Jason G. Sheasby (pro hac vice)
                                         jsheasby@irell.com
                                         H. Annita Zhong (pro hac vice)
                                         hzhong@irell.com
                                         Andrew J. Strabone (pro hac vice)
                                         astrabone@irell.com
                                         Thomas C. Werner (pro hac vice)
                                         twerner@irell.com
                                         Yanan Zhao (pro hac vice)
                                         yzhao@irell.com
                                         Michael W. Tezyan (pro hac vice)
                                         mtezyan@irell.com
                                         Michael Harbour (pro hac vice)
                                         mharbour@irell.com

                                         IRELL & MANELLA LLP
                                         1800 Avenue of the Stars, Suite 900
                                         Los Angeles, CA 90067
                                         Tel. (310) 277-1010
                                         Fax (310) 203-7199

                                         Philip Warrick
                                         New York Bar No. 4471413
                                         pwarrick@irell.com

                                         IRELL & MANELLA LLP
                                         750 17th Street NW, Suite 850
                                         Washington, DC 20006
                                         Tel. (310) 777-6512
                                         Fax (310) 317-7252




                                      - 16 -
Case 2:22-cv-00293-JRG           Document 314 Filed 01/03/24               Page 20 of 20 PageID #:
                                           17494



                                                   Attorneys for Plaintiff Netlist, Inc.




             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

        I hereby certify that the foregoing document and exhibits attached hereto are authorized to be

filed under seal pursuant to the Protective Order entered in this Case.

                                                         /s/ Michael D. Harbour
                                                         Michael D. Harbour



                                  CERTIFICATE OF SERVICE

        I hereby certify that, on December 12, 2023, a copy of the foregoing was served to all counsel

of record via email.

                                                         /s/ Michael D. Harbour
                                                         Michael D. Harbour




                                                - 17 -
